                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

LISA NELSON, personally and as assignee           )
of claims belonging to the Shanandoah             )
Trust, H. Lundahl Telford personally and as       )
assignee to the claims of Marti Lundahl, and      )
H. LUNDAHL TELFORD,                               )
                                                  )
                        Plaintiffs,               )                       8:16CV368
                                                  )
                v.                                )
                                                  )
MOUNTAIN WEST FARM BUREAU                         )                        ORDER
MUTUAL INSURANCE COMPANY,                         )
JEFFREY A. DONNELL, GEORGE E.                     )
POWERS, LAW OFFICES OF SUNDAHL,                   )
POWERS, KAPP & MARTIN, D.                         )
CHRISTINSEN, SUSAN AUKEMA,                        )
PAMELLA GEE, U.S. Postal Employees,               )
and DOES 1-10,                                    )
                                                  )
                        Defendants.               )
                                                  )


       The Clerk is directed to file the attached email together with the document attached to the
email and the documents that were faxed to the Clerk’s office. The Clerk does not have the original
documents but only emailed and/or faxed copies. With the foregoing in mind,

        IT IS ORDERED that the attached documents which are not originals shall be filed as one
attachment to this order. The request to seal these documents is denied. The person purporting to be
Mr. Christensen should not attempt to file any further pleadings in this case. The Clerk is directed
to change both the physical address and the email address as requested by “Dillon Christensen.” If
the person purporting to be “Dillon Christensen” wishes in the future to advise that he/she has
changed an email or physical address, a letter bearing an original pen and ink signature should be sent
to the Clerk of the Court. The Clerk of the Court is then directed to provide a copy of the letter to the
pro se law clerk.

        DATED this 24th day of October, 2016.

                                                BY THE COURT:

                                                s/ Richard G. Kopf
                                                Senior United States District Judge
                       UNITED STATES DISTRICT COURT
                 FOR THE STATE OF NEBRASKA, LINCOLN DIVISION

H. TELFORD and STEVE FRITTS          :
personally and as assignee to the
claims of Shanandoah Trust           :      Civil No. 8:16-CV-368
       Plaintiffs                    :
                                            TO BE FILED UNDER SEAL
          vs.                        :
                                            DECLARATION OF DILLON
MOUNTAIN WEST FARM BUREAU :                 CHRISTENSEN RESPONDING TO
INSURANCE, et al.                           THIS COURT'S REFERRAL TO
                                    :       THE US ATTORNEY'S OFFICE
      Defendants                            ON OCTOBER 4, 2016
                                    :
                                            NOTICE OF CHANGE OF
                                        :   ADDRESS TO BE KEPT UNDER
                                            SEAL OF THE COURT
                                     :
                                            REQUEST TO CHANGE DILLON
                                        :   CHRISTENSEN'S EMAIL ADDRESS
                                            ON FILE WITH THE COURT GIVEN
                                        :   DILLON'S PRIOR TWO EMAIL
                                            ADDRESSES HAVE BEEN HACKED
                                     :



To Be Filed Under Seal
                         Declaration of Dillon Christensen

         I, Dillon Christensen, declare under penalty of perjury pursuant to 28 USC section
1746(2) the following:

         1.     I have personal knowledge of the facts set forth herein and do competently
declare these facts.


                                                   1
           2.    I have consulted with an out of state attorney free of charge who has advised
me on the matters contained in this declaration.
           3.   I had two email addresses which I have used. This year both email addresses
were hacked by changing my security information and password so that I could not get into
these email addresses.     I don't know if these addresses are still being used in my name. I
reported this hacking conduct to the court clerk that assigns ECF email addresses for electronic
notice. Her name was Kathy, I think. The clerk nevertheless reported on the court docket my
second “hacked” email address, i.e. dillonchristensen@gmail.com as a means of giving me
notice. I cannot and have not been able to obtain access to that email address and I have had
to use a consulting attorney's PACER account in order to obtain any records this court
electronically produced over PACER. I am expending funds when I am financially challenged
at the present time. Therefor I request that this court direct the clerk of the court to change my
present email address to dillonchristensen1@gmail.com so that I may receive electronic notice
of this court's actions.
          4.    I presented a copy of the court's transcript of the hearing date for September 19,
2016 to my consulting attorney. She indicated that this court appeared to be conducting a
criminal contempt hearing for practicing law without a license.
          5.    At the beginning of the hearing, this court vocalized that he believed that the
Plaintiffs and myself had engaged in a fraud upon the court, but when the plaintiff Holli
Telford asked the court to identify this fraud, the sitting Judge twice refused to do so. Plaintiff
Holli Telford subsequently expressed that it was the defendants who had committed fraud.
This court then expressed his belief that the plaintiffs were the ones committing fraud
although this court could not specifically identify how. People v. Sprinkle (1963), 27 Ill.2d
398, 189 N.E.2d 295; People v. Heidhorn (1983), 114 Ill.App.3d 933, 937, 449 N.E.2d 568.
          6.    This court then reverted back to my IFP application as further evidence fraud.
No prior notice was given to me that the court would be examining me on this document,
otherwise I would have prepared for any legal discussion surrounding my IFP with experienced
counsel. The Court asked me the following questions:
                (a) about my mutual ownership in a farm tractor. I told the court that I owned



                                                   2
40% interest in this tractor.   I told the court that the tractor was broken down, it has parts that
need to be fixed. Pg. 48, transcript.    When asked what jobs I had recently performed with the
tractor, I reported that I have not been able to do much work with my tractor because of all of
the stuff going wrong on it. Pg. 38 transcript. The court asked me why I didn't report the
tractor on my application to waive fees. I told the court that I didnt know I had too since it was
broken down. I have been advised by consulting counsel that if my tractor was not generating
income, then it is questionable as to whether I was required to report this part owned item as
an asset on my IFP petition.
               (b)    Because this court had suggested that I committed a crime by not reporting
the tractor in my IFP application, I was going to ask the court for appointment of defense
counsel – but this Court rejected my efforts to do so. Pg. 51 transcript, line 23.
               (c)   This court then continued to interrogate me regarding “more than one
piece of real estate I owned.” pgs. 51-52 Transcript.            I would now like to clarify my
statements to this court which were effectively 5th amendment claims at the time of the hearing.
                      (1)    I do not own more than one piece of real estate.
                      (2)   I was counseled by a consulting attorney to list real estate on my IFP
application bearing an equity value of $6800 because of a contract for deed for real estate in
Nebraska. I did not yet own that real estate and I did not understand what this court meant
when the court asked me if I a legal or equitable interest in property. So I answered “I don't
think so.” Pg. 52, line 25 transcript.      Had the court asked me about a contract for deed, I
would have said yes. I even warned the court during the hearing that
                            “ I don't know court law. I don't know court speak.
                              I don't know any of this.”
                                    Pgs. 54-55 Transcript.

               (d)    This Court also asked me about primo equity lenders. I responded that I
could not recall the debt I had with them. In fact the debt with Primo Equity lenders was to
pay for a trailer to pull my tractor. There is an error in the monthly amount. It should be
$72/month not $720/ month.
               (e)   Finally, after this court had asked me about my IFP application, this Court



                                                        3
finally allowed me to ask for a public defender              as shown     by the following quotes:

                                            Pg. 55 Transcript
                     THE COURT: Now,       you  wanted to ask me a question. Go ahead.
                     MR. CHRISTENSEN: Yeah. So since this is like - I mean, I don't
                     really exactly know what is all going on here and I don't ryant to like
                     get myself into trouble. I would like to get a -- is there anyway I
                     could maybe appointed a defender or something.
                     THE COURT: Not at this point. You can certainly hire your own lawyer.
                     MR. CHRISTENSEN: So I don't have enough money for my own
                     lawyer, though.
                     THE COURT: I'll tell you what. I'm not going to ask you any more
                     questions today.

                     The Court declined my request for a public defender.

           7.                  I told the court that I lived in a long roll out 5'h Wheel at the
                  During the hearing,
physicaladdressof505W.5'hSt. Silver Creek,NE68663. Pg.6, lines4-5ofTranscript. I havea
mortgage on this 5tr wheel with CTL -         LLP.      After the hearing, I visited a naturalist in Colorado for
about 4 days to treat my Lymes Disease. When                I returned back to my 5'n wheel, my 5to wheel had
been broken into through the rear bedroom            window, the wires stripped inside so that I could not roll
out my extended living and dining room, and my kitchen appliances stolen. My insurance lapsed                     1


month earlier.

           8. I      have now moved my      5th   wheel to the real property for which I have a contract for deed.
The property is identified as 24321 Himebaugh Ave., Valley NE 68064. There is no postal box at this
address. Attached hereto as exhibit        "1"    are the pictures   of my recently vandalized unit from each'side
on the lot which     will   be mine as soon as my contract for deed completes.
           g. I      now ask the clerk of this court to note under seal my new address as I think that the
opposing parties vandalized my unit.


                 I   declare that the foregoing is true and correct under penalty      of    ury executed this 20"
day of October,2O16,




                                      Certificate of Service
            This documents has been served upon the                            seal to protect my present residence
address.
1
